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                    Exhibit C-24
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Arizona State University
ASU Improves Student Access with Enhanced Online Learning Offerings

Pearson’s high-growth model provides students more opportunities to achieve
with online services, globally.
Overview
Arizona State University (ASU) is a New American University that takes           “When it comes to online learning,
responsibility for the greatest challenges, locally and globally, that we face
                                                                                  there is a direct correlation between
as a society. These challenges include educational attainment, individual
and community opportunity, the environment and health, scientific and             quality services and student success.
technological progress, social justice and human worth.                           Online learning is very demanding…
                                                                                  the more support students receive,
Online education is fundamental to ASU’s vision as a New American
University. Ranked among the top 100 universities in the world, ASU               the better their learning outcomes and
provides the knowledge, discovery and creativity necessary to help solve          overall experience will be.”
these challenges and build a better future.
                                                                                  Philip Regier
ASU Online is ranked among the top ten online bachelor’s degree                   Executive Vice Provost and Dean,
programs in the country by U.S. News and World Report. ASU currently              ASU Online
offers more than 70 undergraduate and graduate degrees entirely online,
each designed and instructed by its renowned faculty.
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Challenge
Over the last 20 years, there have been nearly 31 million students in the
                                                                               Working adults with a college degree earn
United States that have enrolled in college and left without receiving a
degree. Of these students, only four million, or 12 percent, have earned       $300,000 more in their lifetime, or roughly
at least two full years of academic credit. Compounding the situation, the     $15,000 more per year, according to U.S.
nation’s unemployment rate – 5.5 percent as of February 2015 – makes it        Bureau of Labor Statistics data.
twice as difficult for an adult without a college degree to find employment.

Research has shown repeatedly that a college degree is a key differentiator
for success in the 21st century marketplace, yet for many adults, the          Adults aged 25 and above who attended
traditional classroom is no longer a realistic option. Family, work or other   some college but don’t have a degree have
life circumstances make the possibility of completing a degree on-campus       an unemployment rate of nearly twice that
unlikely. Online learning creates new and unprecedented opportunities for      of bachelor’s degree holders, according to
those that would otherwise be unable to complete a degree.                     the U.S. Bureau of Labor Statistics.


Solution
As new model for higher education, ASU is meeting the challenges
by providing non-traditional students with high-quality online degree
programs that are rigorous, engaging and affordable. In 2010, ASU
partnered with Pearson to enhance and rapidly expand its online learning
services and resources, contributing to a superior student experience that
results in high graduation rates.

In addition, Pearson is providing enrollment services for ASU
undergraduate online degree programs, including engagement, retention
and student support. Pearson is also employing prospect generation
services and admission services to better connect with and engage
students at every stage of the enrollment process.

In June of 2014, ASU and Starbucks announced the groundbreaking
College Achievement Plan (CAP), which offers eligible Starbucks
employees full tuition reimbursement with no obligation to remain with
the company following degree completion. Pearson plays a crucial role
in the partnership between ASU and Starbucks with the wide range of
student services, which allows for a seamless influx of online students
generated by the CAP and ensures that all students experience the same
level of service as the program grows and expands.
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Why ASU Partnered with Pearson                                 “ASU not only provided me with the
The partnership between ASU and Pearson represents a            flexibility I needed to continue to work in
new education delivery model for fully online programs          a job that I love, it is also helping me to
in which Pearson blends the operational and commercial          relate what I am learning to my work.”
capabilities of a for-profit business with the academic
ethos, curriculum and faculty at one of the nation’s           Elizabeth Hernandez
leading public universities.                                   Public Safety Dispatcher,
                                                               Ventura County (California) Sheriff’s Department
Pearson’s high-growth, online learning delivery model
involves a breadth of meaningful services and resources
for online students. These services and resources result
in learning outcomes that are, as good as, or better           Here’s an actual scenario of how a non-traditional
than the classroom, going far beyond the traditional,          student benefits from the “High Growth,
on-ground college experience, or one-size-fits-all online      Rigorous” model:
offerings.
                                                               Elizabeth Hernandez is a public safety dispatcher with
At the onset of ASU Online’s program, the Arizona              the Ventura County (California) Sheriff’s Department.
Board of Regents estimated the university will grow            She is earning her Bachelor of Science in Criminology
from 3,000 to 30,000 online students by 2020. ASU              and Criminal Justice while working full time in a
selected Pearson as a partner to fulfill this goal, due to     profession she loves.
Pearson’s unique “High Growth, Rigorous” model that
remains unmatched in the industry today.                       Elizabeth got her first job in criminal justice as a cadet
                                                               while attending community college. She took on as
Our observation is that “high-scale” and “high-intensity”      many shifts and assignments as her supervisors would
tactics are propelling the education market towards a          allow, which led to recognition and promotions at work.
new type of online learning model. This includes the           Her success at work translated into even longer hours
ability to scale significantly, improve content, effectively   and atypical schedules, making it difficult for Elizabeth
use analytics and provide extensive student services,          to continue pursuing her degree in a traditional, on-
including comprehensive enrollment and retention               ground setting. Elizabeth knew that in order to continue
counseling, thereby providing students with a “best of         to progress in her career, she would need to earn her
both worlds” approach to education.                            college degree.

                                                               She selected ASU because, in her words, “ASU not only
                                                               provided me with the flexibility I needed to continue to
                                                               work in a job that I love, it is also helping me to relate
                                                               what I am learning to my work. I’ve felt welcomed and
                                                               supported from the moment I applied, and I know that
                                                               ASU will support me throughout my career. I am so
                                                               proud to be a Sun Devil!”
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                           T h e N e w Yo r k T i m e s :
                           Starbucks to Provide Free College Education to Thousands of Workers
                           “Starbucks will provide a free online college education to thousands of its workers, without
                           requiring that they remain with the company, through an unusual arrangement with Arizona State
                           University, the company and the university will announce on Monday.
                           The program is open to any of the company’s 135,000 United States employees, provided
                           they work at least 20 hours a week and have the grades and test scores to gain
                           admission to Arizona State. For a barista with at least two years of
                           college credit, the company will pay full tuition; for those with fewer
                           credits it will pay part of the cost, but even for many of them, courses
                           will be free, with government and university aid.
                           ‘Starbucks is going where no other major corporation has gone,’
                           said Jamie P. Merisotis, president and chief executive of the Lumina
                           Foundation, a group focused on education. ‘For many of these
                           Starbucks employees, an online university education is the only
                           reasonable way they’re going to get a bachelor’s degree.’”



                           Conclusion
                           The pioneering model proves that for many students, online learning can be more effective than in
                           the classroom, and will enable thousands of students to earn their degree from one of the country’s
                           leading public universities while fulfilling other responsibilities at work and home.

                           ASU and Pearson’s partnership applies real-time assessment and analytics data to measure and
                           evaluate student performance. The result is seen through thousands of student success and
                           graduation stories. Since partnering with Pearson, ASU Online’s enrollment has increased by 325%
                           and more than 4,000 students have completed their degree.




                               Discover how your institution can provide scalable online learning
                                          programs that improve students’ lives at:
                                               pearsononlinelearning.com




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